
PER CURIAM.
Petitioner’s argument that the circuit court erred in denying his petition for writ of mandamus is without merit and is rejected; however, because the underlying action constitutes a “collateral criminal proceeding” pursuant to section 57.085(10), Florida Statutes (2005), the circuit court improperly imposed a lien upon petitioner’s inmate trust account for payment of court costs and fees. See Cox v. Crosby, 31 Fla. L. Weekly D310, — So.2d—, 2006 WL 176681 (Fla. 1st DCA Jan.26, 2006), rev. granted sub nom. McDonough v. Cox, 924 So.2d 809 (Fla.2006); Schmidt v. Crusoe, 878 So.2d 361 (Fla.2003). We accordingly quash that portion of the circuit court’s order on indigency imposing a lien as a result of the filing of the petition for writ of certiorari/mandamus below. The circuit court should direct the reimbursement of any funds that have been *485withdrawn from petitioner’s account to satisfy the improper lien order.
DENIED.
WOLF, VAN NORTWICK, and LEWIS, JJ., concur.
